       Case 4:19-cv-00481-JCH Document 75 Filed 01/07/22 Page 1 of 1



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 2                       IN THE UNITED STATES DISTRICT COURT
 3                                 FOR THE DISTRICT OF ARIZONA
 4
 5   A.I.I.L., et al.,                                  No. CV-19-00481-TUC-JCH
 6                   Plaintiffs,                        ORDER
 7   v.
 8   Jefferson Beauregard Sessions, III, et al.,
 9                   Defendants.
10
11          Pending before the Court is Plaintiffs’ Motion to Lift Abeyance. (Doc. 74.) This
12   matter has been stayed since June 1, 2021, pending settlement negotiations between
13   Plaintiffs and the United States Defendant. (See Doc. 66; Doc. 69; Doc. 73.) Most recently,
14   on November 19, 2021, this Court granted Plaintiffs’ Third Motion to Hold Action in
15   Abeyance (Doc. 70), stayed the matter for a period of sixty days, and set a status conference
16   for January 11, 2022 to discuss the status of the case and settlement negotiations. (See Doc.
17   73). Plaintiffs now indicate that settlement discussions have reached an impasse and seek
18   to lift the abeyance. There is no objection from either the United States Defendant or the
19   Individual Defendants. Good cause appearing,
20          IT IS ORDERED GRANTING Plaintiffs’ Motion to Lift Abeyance (Doc. 74).
21   This matter is no longer stayed.
22          IT IS FURTHER ORDERED VACATING the Status Conference set on
23   Tuesday, January 11, 2022 at 11:30 a.m. (MST).
24          Dated this 7th day of January, 2022.
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